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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF KENTUCKY
                                  NORTHERN DIVISION AT COVINGTON
                                      Civil Minutes - Oral Argument

Cv. No. 19-CV-64-DLB-CJS                                                        2/5/2020

Crosswater Canyon, Inc., et al. v. Allied World Assurance Company, Inc., et al

PRESENT:            CANDACE J. SMITH, U.S. MAGISTRATE JUDGE

Lynn Voskuhl                  KYED-COV__2-19-cv-64-DLB-CJS_20200205_101944
Deputy Clerk                  Audio File Number

I, Lynn Voskuhl, CERTIFY the official record of this proceeding is an audio file.

Plaintiffs                                                          Attorneys
Crosswater Canyon, Inc.                                             Amanda Stubblefield
Ark Encounter, LLC                                                  Pamela M. Hodge
                                                                    Steven C. Coffaro

Defendants                                                          Attorneys
Allied World Assurance Company, Inc.                                Cheryl L. Mondi

Certain Underwriters at Lloyd’s                 Edward M. O’Brien
HDI Global Specialty SE
Blackboard Specialty Insurance Company
General Security Indemnity Company of Arizona
______________________________________________________________________________
PROCEEDINGS: ORAL ARGUMENT

       On February 5, 2020, this case was called for Oral Argument on Defendant Allied World
Assurance Company, Inc.’s Motion to Bifurcate, with all other Defendants having joined in that
Motion. (R. 21; R. 24). After hearing argument from counsel on the Motion, the Motion was
taken under advisement pending entry of a written Order ruling on the Motion.


cc: COR
Deputy Clerk Init. LV
TIC: 1hr. 1 min.
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